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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-
 2(c)
 Stern Lavinthal & Frankenberg LLC
 105 Eisenhower Parkway - Suite 302
 Roseland, NJ 07068
 Telephone Number (973) 797-1100
 Telecopier Number (973) 228-2679
 Attorneys for Secured Creditor,
 Nationstar Mortgage LLC d/b/a Mr. Cooper as
 servicer for THE BANK OF NEW YORK
 MELLON F/K/A THE BANK OF NEW YORK
 as successor in interest to JP Morgan Chase
 Bank, N.A. as Trustee for Structured Asset
 Mortgage Investments II Trust 2006-AR7
 Mortgage Pass-Through Certificates Series
 2006-AR7
 By: Jeanette F. Frankenberg, Esq.

 In Re:                                                                  Case No.: 18-10881-KCF
                                                                         Chapter: 7
           Antonio Rino                                                  Hearing Date: March 6, 2018
                                                                         Judge: Kathryn C. Ferguson
                    Debtor(s)


 NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY (REAL PROPERTY)

Nationstar Mortgage LLC d/b/a Mr.Cooper as servicer for THE BANK OF NEW YORK

MELLON F/K/A THE BANK OF NEW YORK as successor in interest to JP Morgan Chase

Bank, N.A. as Trustee for Structured Asset Mortgage Investments II Trust 2006-AR7

Mortgage Pass-Through Certificates Series 2006-AR7 (“Movant”) hereby moves this Court for

abandonment, pursuant to 11 U.S.C. § 554, and relief from the automatic stay, pursuant to 11

U.S.C. § 362 with respect to certain real property of the Debtor(s) having an address of 101 Colts

Neck Road, Farmingdale, NJ 07727 (the “Property”) for all purposes allowed by the Note



Attached are redacted copies of any documents that support the claim, such as promissory notes, purchase order, invoices,
itemized statements of running accounts, contracts, judgments, mortgages, and security agreements in support of right to seek a lift
of the automatic stay and foreclose if necessary

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(defined below), the Mortgage (defined below) and applicable law, including but not limited to

the right to foreclose.

          Your rights may be affected. You should read these papers carefully and discuss

them with your attorney, if you have one in this bankruptcy case. (If you do not have an

attorney, you may wish to consult one.)

          If you do not want the court to vacate the automatic stay as it relates to the property

commonly known as 101 Colts Neck Road, Farmingdale, NJ 07727, currently owned by the

debtor(s) and made part of this bankruptcy, or if you want the court to consider your views on the

motion, then on or before February 27, 2018, you or your attorney should complete the steps

described in (a) and (b) below:

     a. File with the court a written request for a hearing, and an answer explaining your position

          at: 402 East State Street, Trenton, NJ 08608-1568. If you mail your response to the

          court for filing, you must mail it early enough so the court will receive it on or before the

          date stated above. You must also mail a copy to the following:


  Stern Lavinthal & Frankenberg LLC                                    Bunce Atkinson Esq.
  105 Eisenhower Parkway - Suite 302                                   2 Bridge Avenue
  Roseland, NJ 07068                                                   Bldg. 2, 3rd Floor
  Attorneys for Movant,                                                P.O. Box 8415
  Nationstar Mortgage LLC d/b/a Mr.Cooper                              Red Bank, NJ 07701
                                                                       Trustee


     b. Attend the hearing scheduled for March 6, 2018 in Courtroom #2 of the United States

          Bankruptcy Court, 402 East State Street, Trenton, NJ 08608-1568.

If you or your attorney do not take these steps, the court may decide that you do not oppose the

relief sought in the motion or objection, and may enter an order granting that relief.

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          The facts and circumstances supporting this Motion are set forth in the Certification in

Support of Motion for Relief from Stay filed contemporaneously herewith (the “Certification”).

Movant seeks relief from the automatic stay for the following reasons: Movant’s interest in the

Property is not adequately protected. Movant’s interest in the collateral is not protected by an

adequate equity cushion. The fair market value of the Property is declining and payments are not

being made to Movant sufficient to protect Movant’s interest against that decline. Pursuant to 11

U.S.C. § 362(d)(2)(A), Debtor(s) has/have no equity in the Property; and pursuant to 11 U.S.C. §

362(d)(2)(B), the Property is not necessary for an effective reorganization.

          Movant requests the following relief:

                    (a.)       Relief from the stay for all purposes allowed by the Note, the Mortgage,

and applicable law, including but not limited to allowing Movant (and any successors or assigns)

to proceed under applicable non-bankruptcy law to enforce its remedies to foreclose upon and

obtain possession of the Property and any and all other collateral pledged under the Mortgage.

                    (b.)       That the Order be binding and effective despite any conversion of this

bankruptcy case to a case under any other chapter of Title 11 of the United States Code.

                    (c.)       That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.

                    (d.)       That the Property be deemed abandoned by the trustee as an asset of the

bankruptcy estate effective upon entry of the Court’s order.

                    (e.)       For such other relief as the Court deems proper.

Nationstar Mortgage LLC d/b/a Mr.Cooper services the Debt Agreement/Note/Home Equity Note

on the property. In the event the automatic stay is modified, this case dismisses and/or the Debtor

receives a discharge and a foreclosure action is commenced on the property, the foreclosure will

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be conducted in the name of Movant. Movant, directly or through an agent, has possession of the

Debt Agreement/Note/Home Equity Note and held the Debt Agreement/Note/Home Equity Note

at the time of filing the Motion. The Debt Agreement/Note/Home Equity Note is made payable to

Movant or The Debt Agreement/Note/Home Equity Note has been duly endorsed.

Movant further requests that upon entry of an order granting relief from stay, it be exempted

from further compliance with Fed Rule Bankr.P.3002.1 in the instant bankruptcy case.

          In the alternative, Movant requests that this Court enter an order providing Movant with

adequate protection of its interest in the Property.

Statement of Non-Necessity of Brief: The Movant certifies pursuant to D.N.J. LBR 9013-2 that

the within motion involves common questions of law and fact and does not involve complex or

novel issues such as to require the submission of a legal brief.



Dated: 02/07/2018
                                                                         Stern, Lavinthal & Frankenberg, LLC
                                                                              Attorneys for Secured Creditor

                                                                              BY: /s/Jeanette F. Frankenberg, Esq.
                                                                                     Jeanette F. Frankenberg, Esq.


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